           Case 1:20-cr-00269-JKB Document 117 Filed 01/11/21 Page 1 of 5



                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                          *

v.                                                *
                                                            Case No.: JKB-20-269
GILBERT CONWAY                                    *

       Defendant.                                 *

*      *       *       *      *       *       *       *     *       *       *      *       *     *

                           MEMORANDUM OPINION AND ORDER

       Pending before the Court is defendant Gilbert Conway’s Motion for Review and

Reconsideration of Detention Order pursuant to 18 U.S.C. § 3145(b). ECF 102. The government

has not filed an opposition. No hearing is necessary. The motion is denied.

                                    Procedural Background

       Mr. Conway, 44, has been charged by indictment with conspiracy to distribute and possess

with intent to distribute fentanyl and cocaine base in violation of 21 U.S.C. § 846. On October 16,

2020, Mr. Conway appeared for his initial appearance on the indictment. That same day, I released

him pending trial subject to certain conditions, including participation in and successful

completion of an inpatient substance abuse program at the Shoemaker Center. Release Condition

8(v), Order of Release, ECF 71. I scheduled a bail review/status hearing for November 13, 2020,

approximately 28 days after Mr. Conway’s enrollment in the inpatient program, in anticipation

that by then he would have completed the program successfully and I could fashion appropriate

release conditions. On November 12, I was notified that Shoemaker discharged Mr. Conway from

the program due to noncompliance with program rules and that Mr. Conway had not been in

contact with Pretrial Services since his discharge.
         Case 1:20-cr-00269-JKB Document 117 Filed 01/11/21 Page 2 of 5



       At the November 13 virtual hearing, counsel for Mr. Conway advised me that Mr. Conway

had called him minutes before the hearing and advised him he was living at Turk House, a recovery

facility in Baltimore City. With Mr. Conway available by phone, I required him to call into the

hearing, which he did. At the hearing, I heard from counsel and Pretrial Services Officer Scott

Holzer and reviewed the November 12, 2020 Shoemaker discharge summary. According to the

discharge summary, Mr. Conway

       had been spoken too [sic] on numerous occasions by his counselor that his behavior,
       lack of attending groups, disrespect to other clients and staff needed to change. He
       was [p]ut on a behavioral contract on November 10th for smoking in the facility.
       [He] refused to sign and had become increasingly more disruptive and
       disrespectful.

His prognosis was deemed “poor . . . due to his lack of working the program, admitting his

addiction and lack of accountability for his behavior.”

       At the hearing, Mr. Conway disagreed with at least some of the allegations in the discharge

summary and urged me to allow him to live at the Turk House and enroll in another substance

abuse program. I rejected this request, citing his failure to comply with the rules of the Shoemaker

program and his premature discharge from the program based on noncompliance. I also considered

his prior criminal history, which includes numerous convictions for CDS distributions since 1994

and most recently a 2010 conviction for an unidentified lesser included offense of first-degree

murder for which he was on probation when he allegedly committed this federal offense. For these

reasons, I found Mr. Conway in violation of the Order Setting Conditions of Release and

determined that he had not overcome the rebuttable presumption of detention under 18 U.S.C.

§ 3142(e)(3)(A). I ordered Mr. Conway to self-surrender to the U.S. Marshals by 1:00 p.m. that

day. He did not comply with my order. I understand he turned himself into Marshals’ custody the

following Monday, November 16, and has been detained since then. On November 20, 2020,

through counsel, Mr. Conway filed the pending motion.


                                                 2
         Case 1:20-cr-00269-JKB Document 117 Filed 01/11/21 Page 3 of 5



                                            Discussion

       Mr. Conway filed his motion under 18 U.S.C. § 3145(b). That section of the Bail Reform

Act provides: “If a person is ordered detained by a magistrate judge . . . the person may file, with

the court having original jurisdiction over the offense, a motion for revocation or amendment of

the order.” This provision triggers a District Judge’s review of a Magistrate Judge’s detention

order. It is unclear, however, whether Mr. Conway requests that Chief Judge Bredar review my

order under § 3145(b) or that I reopen the detention hearing under 18 U.S.C. § 3142(f)(2). The

latter provision allows for the reopening of a detention hearing if “information exists that was not

known to [him] at the time of the hearing and that has a material bearing on the issue whether there

are conditions of release that will reasonably assure the appearance of such person as required and

the safety of any other person and the community.” 18 U.S.C. § 3142(f)(2). In apparent effort to

invoke this provision, Mr. Conway states that “[a]t the time of both the initial appearance and

status/detention hearing, a suitable candidate to serve as third party had not been found and no

information regarding alternative conditions for release were offered to the Court.” Def.’s Mot. 4.

He claims the proposed third-party custodian, the mother of his two-year-old son, “had originally

been reluctant to undertake the responsibility of being third party custodian but now has

reconsidered and has expressed a willingness to serve in that role. Information regarding the

potential third party custodian was not previously made known to the Court.” Id. at 5. In light of

the newly identified third-party custodian and the absence of any alleged legal errors, I will

construe the motion as a motion to reopen the detention hearing under 18 U.S.C. § 3142(f)(2).

       As grounds for reopening the detention hearing, Mr. Conway claims that his proposed

third-party custodian previously was unwilling to serve in this role but now is willing to do so. Of

course, Mr. Conway knew about the proposed third-party custodian’s existence at the hearings




                                                 3
         Case 1:20-cr-00269-JKB Document 117 Filed 01/11/21 Page 4 of 5



because she is the mother of his young son. What he did not know then was that she might change

her mind at some point and allow him to live with her and serve as a third-party custodian. I am

not convinced that the newfound willingness of a formerly unwilling third-party custodian is a

“information . . . that was not known to [him] at the time of the hearing.” 18 U.S.C. § 3142(f)(2).

For purposes of this motion, however, I will assume that Mr. Conway has presented information

that was not known to him at the prior two hearings, and I will further assume that the third-party

custodian is suitable.

       The next question is whether the existence of a suitable third-party custodian has “a

material bearing on the issue whether there are conditions of release that will reasonably assure . .

. the safety of any other person and the community.” Id. Here, it does not. I ordered Mr. Conway

detained because he violated the express condition of my release order requiring him to participate

in and successfully complete an inpatient substance abuse program at Shoemaker; he failed to

contact Pretrial Services after he was discharged from the program; and based on his prior criminal

history, prior poor performance on court supervision, and the fact that he is on probation now, he

could not overcome the rebuttable presumption of detention. My decision did not turn on the

availability of a third-party custodian, and I will not reconsider my detention order now that there

appears to be a suitable third-party custodian.

       For these reasons, Mr. Conway’s motion is denied. If Mr. Conway intended to appeal my

November 13 detention order or if he wishes to appeal this decision, he may file a motion for

review of a detention order pursuant to 18 U.S.C. § 3145(b).

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                                                  4
        Case 1:20-cr-00269-JKB Document 117 Filed 01/11/21 Page 5 of 5



                                          ORDER

      For the reasons stated in this Memorandum Opinion and Order, it is, this 11th day of

January, 2021, hereby ORDERED that Gilbert Conway’s Motion for Review and Reconsideration

of Detention Order, ECF 102, is DENIED.




                                                              /S/
                                                       Deborah L. Boardman
                                                       United States Magistrate Judge




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